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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  FORT WAYNE DIVISION

 UNITED STATES OF AMERICA                     )
                                              )
        v.                                    )       CASE NO.: 1:11-CR-26-TLS
                                              )
 AUGUSTINE L. LUNA                            )

                                    OPINION AND ORDER

        This matter is before the Court on the Defendant’s Motion to Determine Competency

 [ECF No. 131]. In this Motion, the Defendant’s counsel requested that the Court set the matter

 for a hearing to determine the Defendant’s mental competency to properly aid counsel in

 preparation of a defense, to understand the nature and consequences of the proceedings, and to

 stand trial. Further, the Defendant’s counsel requested, pursuant to 18 U.S.C. § 4241(b), that the

 Court order a psychiatric or psychological examination of the Defendant and that the resulting

 report be filed with the Court. According to the Defendant’s counsel, the Defendant had

 exhibited behavior consistent with a possible mental disease or defect. By Order [ECF No. 137]

 dated July 16, 2012, the Court ordered that a licensed professional conduct a psychological or

 psychiatric examination of the Defendant and complete a report addressing the Defendant’s

 competency to stand trial.

        A forensic psychologist conducted an independent psychological examination of the

 Defendant. On October 10, 2012, the Court received a Forensic Report containing the following:

 the Defendant’s history and present symptoms; a description of the psychiatric, psychological,

 and medical tests that were employed and their results; the examiner’s findings; and the

 examiner’s opinions as to diagnosis, prognosis, and the Defendant’s mental competency to

 understand the nature and circumstances of the proceedings and to assist properly in his defense.
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 The examiner concluded that the Defendant maintains a fundamentally factual and rational

 understanding of his current legal proceedings and has the capacity to assist counsel in

 preparation of a defense strategy.

        Upon receipt of the Report, which was also distributed to counsel for the Defendant and

 the Government, the Court conducted a telephone status conference on October 15, 2012. During

 the conference, the Defendant’s counsel represented that the Defendant did not dispute the

 findings in the Report that the Defendant was mentally competent to stand trial, and declined the

 opportunity to have an evidentiary hearing on the Defendant’s competency.

        Given the findings set forth in the Forensic Report and the Defendant’s representation

 that he does not dispute those findings, the Court finds that there is no reasonable cause to

 believe that the Defendant currently suffers from a mental disease or defect that renders him

 mentally incompetent to the extent that he is unable to properly assist in his defense, to

 understand the nature and consequences of the proceedings against him, or to stand trial, and that

 there is thus no basis for a hearing to determine competency. To the extent that the Defendant’s

 Motion [ECF No. 131] requests a hearing to determine his mental competency, that request has

 been rendered MOOT by the Defendant’s representation that he no longer wishes to proceed

 with the hearing in light of the Forensic Report. To the extent the Defendant’s Motion requests

 that the Court determine his mental capacity [ECF No. 131], the Court now finds that because it

 has not been established by a preponderance of evidence that the Defendant currently suffers

 from a mental disease or defect that renders him mentally incompetent to the extent that he is

 unable to properly assist in his defense, or to understand the nature and consequences of the

 proceedings against him, that he is mentally competent to stand trial.


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       SO ORDERED on October 17, 2012.

                                             s/ Theresa L. Springmann
                                             THERESA L. SPRINGMANN
                                             UNITED STATES DISTRICT COURT




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